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                                                      RETURN OF SERVICE

                                          UNITED STATES DISTRICT COURT
                                              Southern District of Florida
Case Number: 1:21-CV-23306

Plaintiff:
ARMANDO PEREZ
vs.
Defendant:
GREENSTAR LANDSCAPING, CO. and
PETER E. MASI

For:
Brian Pollock, Esq.
FairLaw Firm
135 San Lorenzo Avenue, Suite 770
Coral Gables, FL 33146

Received by Miami PSPI, LLC on the 24th day of September, 2021 at 1:35 pm to be served on PETER E. MASI, 21133 S.W.
85 Avenue, Unit 401, Miami, FL 33189.

I, Stefany Camejo, do hereby affirm that on the 1st day of October, 2021 at 12:30 pm, I:

INDIVIDUALLY/PERSONALLY served by delivering a true copy of the SUMMONS IN A CIVIL ACTION and COMPLAINT
with the date and hour of service endorsed thereon by me, to: PETER E. MASI at the address of: 21133 S.W. 85 Avenue,
Unit 401, Miami, FL 33189, and informed said person of the contents therein, in compliance with Florida statute §48.031(1)
(a).

Description of Person Served: Age: 53, Sex: M, Race/Skin Color: White, Height: 5'6", Weight: 160, Hair: Black, Glasses: N

I acknowledge that I am over the age of 18 years, in good standing in the judicial circuit in which this process was served,
and that I have no interest in the above action. Under penalty of perjury, I declare that I have read the foregoing Return of
Service and the acts stated in it are true. F.S. 92.525(2).




                                                                                       Stefany Camejo
                                                                                       Certified Process Server #2509

                                                                                       Miami PSPI, LLC
                                                                                       1800 Coral Way, Suite 1511
                                                                                       Miami, FL 33145
                                                                                       (305) 285-4321

                                                                                       Our Job Serial Number: NAY-2021001424


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